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 4
     Attorney for Defendant, ALFONSO ZAMORA
 5
 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,   )               CASE NO: 08-00298 AWI
 9                               )
              Plaintiff,         )
10                               )               STIPULATION AND
          v.                     )               ORDER TO CONTINUE SENTENCING
11                               )
     ALFONSO ZAMORA,             )
12                               )
              Defendant.         )
13   ____________________________)
14         The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing currently calendared for November 16, 2009, be
16   continued to December 7, 2009 at 9:00 a.m.
17         This continuance is necessitated, as additional time is needed for further
18   investigation.
19         The parties also agree that any delay resulting from this continuance shall
20   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
21   3161(h)(8)(A) and 3161(h)(8)(B)(I).
22
     DATED: October 8, 2009              /s/ Kevin P. Rooney
23                                       KEVIN P. ROONEY
                                         Assistant United States Attorney
24                                       This was agreed to by Mr. Rooney
                                         via telephone on October 7, 2009
25
26   DATED: October 8, 2009              /s/ Roger K. Litman
                                         ROGER K. LITMAN
27                                       Attorney for Defendant
                                         ALFONSO ZAMORA
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 1
                                        ORDER
 2
 3   IT IS SO ORDERED.
 4   Dated:   October 9, 2009                /s/ Anthony W. Ishii
     0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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